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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA
[:y\- CR-1G

Criminal No. Erie

UNITED STATES OF AMERICA

Vv.

Nee eee eel” Se Nee

MATTHEW E. POESE

INFORMATION MEMORANDUM

AND NOW comes the United States of America, by its attorneys, Scott W.
Brady, United States Attorney for the Western District of Pennsylvania, and Christian A.
Trabold, Assistant United States Attorney for said District, and submits this Information
Memorandum to the Court:
I. THE INFORMATION
A one-count Information was filed against the above-named defendant for an

alleged violation of federal law:

COUNT OFFENSE/DATE TITLE/SECTION
1 Possession of material 18 U.S.C. §§ 2252(a)(4)(B) and
depicting the sexual exploitation 2252(b){2)
of a minor
From in and around
November 2018

to in and around
June 2019
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Il. ELEMENTS OF THE OFFENSE

A. As to Count 1:

In order for the crime of possession of material depicting the sexual exploitation
of a minor, in violation of 18 U.S.C. §§ 2252(a)(4)(B) and 2252(b)(2), to be established, the
government must prove all of the following essential elements beyond a reasonable doubt:

1. That the defendant knowingly possessed one or more items which
contained a visual depiction of a minor engaging in sexually explicit conduct.

Title 18, United States Code, Section 2252(a)(4)(B).

2. That the item which contained the visual depiction had been
mailed, transported or shipped in interstate commerce, or had been produced using materials

which had been mailed or transported or shipped in interstate commerce.

Title 18, United States Code, Section 2252(a)(4\(B).

3. That the production of the visual depiction involved the use of a
minor engaging in sexually explicit conduct, as those terms are defined in Title 18, United States
Code, Section 2256.

Title 18, United States Code, Section 2252(a)(4\(B).
Tf. PENALTIES

A. As to Count 1: Possession of material depicting the sexual exploitation

of a minor (18 U.S.C. §§ 2252(a)(4)(B) and 2252(b)(2)):

1, Imprisonment of not more than ten (10) years, but if such person
has a prior conviction under Title 18, United States Code, Chapter 110, Chapter 71, Chapter
109A, Chapter 117 or under Section 920 of Title 10, or under the laws of any state relating to

ageravated sexual abuse, sexual abuse, or abusive sexual conduct involving a mimor or ward, or
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the production, possession, receipt, making, sale, distribution, shipment or transportation of child
pomography, such person shall be fined under this title and imprisoned not less than ten (10)
years nor more than twenty (20) years.

2. A fine of $250,000 (18 U.S.C. § 3571(b)(3)).

3. A term of supervised release of at least five (5) years and up to life
(18 U.S.C. § 3583).

4, Any or all of the above.

IV. MANDATORY SPECIAL ASSESSMENT

A mandatory special assessment of $100.00 must be imposed at Count 1 upon
conviction, pursuant to 18 U.S.C. § 3013.

An additional special assessment of $5000.00 must be imposed at Count 1 upon
conviction, as the offense was committed after May 29, 2015, and the offense is located within
Chapter 110 of Title 18, United States Code. 18 U.S.C. § 3014(a).

V. RESTITUTION

Restitution may be required in this case as to Count 1, together with any

authorized penalty, as part of the defendant's sentence pursuant to 18 U.S.C. §§ 3663, 3663A,

and 2259.
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VI. FORFEITURE
As set forth in the indictment, forfeiture is applicable in this case.

Respectfully submitted,

SCOTT W. BRADY ©
United States Attorney

 

CHRISTIAN A. TRABOLD
Assistant U.S. Attorney
PA ID No. 75013
